                                        September 22, 2022

VIA ECF

 The Honorable Vince Chhabria
 United States District Judge
 San Francisco Courthouse, Courtroom 4 (17th Floor)
 450 Golden Gate Avenue
 San Francisco, CA 94102

          Re: In re Facebook, Inc. Consumer Privacy User Profile Litig.,
              Northern District of California, Case No. 3:18-md-02843-VC
              Letter brief regarding follow-up questions on sanctions

Dear Judge Chhabria:

        This letter brief responds to the two questions the Court posed at the September 15
hearing on sanctions. Plaintiffs summarize the context and content of the questions, answer the
questions, and then emphasize the importance of fully accounting for all costs and fees caused by
the discovery misconduct here.

A.     The context of the two questions

        The parties have reached a class action settlement in principle. Notice of Settlement in
Principle, ECF No. 1014. The contemplated settlement will create a nonreversionary common
fund for the benefit of the class. See Hr’g Tr. (“Sanctions Tr.”) at 20:5–6 (Sept. 15, 2022). Out of
this fund will come any award of fees and costs that the Court may approve. Id. The agreement
in principle to settle the case was reached without settling the motion for sanctions. Id. at 7:6–19,
17:4–6.

        At the September 15 hearing on sanctions, the Court asked about the relationship between
the class settlement and any sanctions that might be awarded. Id. at 9:12–25. Plaintiffs said that
if the Court should award attorneys’ fees and costs as sanctions, those fees and costs would be
credited against the fees and costs that they will receive from the common fund. See id. at 10:1–
12:16. To be precise, Plaintiffs envision the sanctions being allocated to the class directly, as
payment of fees by an opposing party or lawyer are properly credited to the party—here, the
class—and not the party’s lawyer. See infra § C.2. But the effect would be the same as a credit:
the net amount that the class pays in fees and costs would be reduced by any sanctions awarded.

       To illustrate, consider two scenarios, one in which sanctions are not imposed and one in
which they are.

        In the scenario without sanctions, a settlement creates a common fund of $100, and the
plaintiffs successfully seek attorneys’ fees representing 25% of the fund plus costs of $10.
September 22, 2022                                           KELLER ROHRBACK L.L.P.
Page 2                                                   BLEICHMAR FONTI & AULD LLP


Plaintiffs’ counsel receive $25 in fees. Of the remaining $75, $10 go to costs, and the
remainder—$65—is distributed to the class.

        Now consider an otherwise identical scenario where the court imposes $10 in sanctions,
representing $5 in costs and $5 in fees. Total attorneys’ fees would remain $25, which still
comprises 25% of the $100 common fund. But since the $5 in fees from the sanctions would be
allocated to the class, the net amount of fees paid by the class would be only $20. Similarly,
costs awarded from the settlement fund would remain $10. But since the $5 in costs from the
sanctions would be allocated to the class, the net amount of costs paid by the class would be only
$5. The net amount of fees and costs paid by the class would then be $25, and the amount of
money available to distribute to the class would be $75. Thus, the imposition of $10 in sanctions
would increase the amount of money available to distribute to the class by $10.

B.       The two questions

        The discussion of how the sanctions would be allocated prompted two questions on
which the Court has requested letter briefs. First, “what is the point of awarding attorneys’ fees
as compensation to Plaintiffs’ Counsel if they would already be getting their fees as part of a
class action settlement?” Sanctions Tr. at 105:16–19. Second, “[i]f I wish to consider imposing
punitive sanctions on Facebook and Gibson Dunn, . . . what should the process be?” Id. at
105:22–24.

C.       Question one: What is the point of awarding attorneys’ fees as compensation to
         Plaintiffs’ counsel if they would already be getting their fees as part of the class
         action settlement?

       As Plaintiffs understand it, there are several underlying concerns captured by this
question, each of which Plaintiffs will address separately:

     •   If Plaintiffs’ counsel will end up getting the same amount of fees anyway, then would
         sanctions force Gibson Dunn or Facebook to pay for their misconduct? See id. at 11:7–
         14.

     •   Even if the sanctions would force Gibson Dunn or Facebook to pay more than they
         otherwise would, does the fact that Plaintiffs’ counsel will be receiving the same total
         fees mean that the sanctions are not compensatory? See id. at 13:6–13.

     •   Is there any argument that the sanctions would be punitive rather compensatory and
         therefore require the Court to provide procedural guarantees applicable to criminal cases?
         See id. at 13:14–23.

         1. If Plaintiffs’ counsel will end up getting the same amount of fees anyway, then
            would sanctions force Gibson Dunn or Facebook to pay for their misconduct?

       Yes. Any monetary sanction that the Court may impose on either Gibson Dunn,
Facebook, or both will force them to compensate the class by paying more than they otherwise
would. That is the very purpose of the sanctions.
September 22, 2022                                                    KELLER ROHRBACK L.L.P.
Page 3                                                            BLEICHMAR FONTI & AULD LLP


       This conclusion is clearest in the case of Gibson Dunn. Because Gibson Dunn will not be
responsible for any portion of the settlement’s common fund, any monetary sanctions imposed
on Gibson Dunn would necessarily force it to pay money that it otherwise would not pay.

        The same conclusion holds true for Facebook as well. For while the contemplated
settlement will require Facebook to create a nonreversionary common fund for the class, the
parties explicitly agreed not to resolve any possible sanctions in their settlement in principle. As
a result, any monetary sanctions this Court may impose on Facebook would be paid in addition
to the settlement amount. An award of sanctions would necessarily force Gibson Dunn or
Facebook to pay more.

           2. Even if the sanctions would force Gibson Dunn or Facebook to pay more than
              they otherwise would, does the fact that Plaintiffs’ counsel will be receiving the
              same total fees mean that the sanctions are not compensatory?

         No. The monetary sanctions are compensatory because they will benefit the class by
reimbursing it for costs and fees incurred as a result of the sanctionable misconduct. The defining
trait of compensatory sanctions is simply their measure—whether the sanctions are calibrated to
offset damage caused by the sanctioned misconduct. See Goodyear Tire & Rubber Co. v.
Haeger, 137 S. Ct. 1178, 1186 (2017). The fact that the sanctions will end up benefiting the class
rather than counsel does not make them any less compensatory.

         In fact, it is normally expected that monetary sanctions will benefit a party rather than the
party’s attorney. As the most recent Restatement of the Law Governing Lawyers notes, the
default rule is that “payments that the law requires an opposing party or that party’s lawyer to
pay as attorney-fee awards or sanctions are credited to the client, not the client’s lawyer.”
Restatement (Third) of the Law Governing Lawyers § 38(3)(b) (2000); see also 1 Robert L.
Rossi, Attorneys’ Fees § 6:12 (3d ed. June 2022 update) (“The general rule is that in the absence
of agreement, fees allowed as costs or expenses in an action belong to the client, the party
litigant, and not to the party’s attorney.”). Indeed, an agreement that allows an attorney to keep
both a contractual fee and a fee award, without offsetting the award against the contractual fee,
“is presumptively unreasonable.”1 Restatement (Third) of the Law Governing Lawyers § 38 cmt.
f.

        The Ninth Circuit has also effectively recognized that most sanctions are paid to a party
rather than the party’s attorney. It stated, in a case involving a fee-shifting statute, that “[d]irect
payment to the attorney is the exception, not the rule.” United States v. $186,416.00 in U.S.
Currency, 642 F.3d 753, 756 (9th Cir. 2011). This statement applies equally to statutory or rule-
based sanctions authorities; the court was pointing to a background rule that applies to any
provision that authorizes an award of fees. See id. (“[I]n the absence of explicit instructions from


1
    That presumptive unreasonableness helps to explain why district courts have imposed sanctions that explicitly
    ordered attorneys to credit the sanction award against what the client would otherwise have to pay. Eriksen v.
    Dennett, No. CIV. 207CV00230DB, 2008 WL 54039, at *1 (D. Utah Jan. 3, 2008); Swain v. Encore Med. Corp.,
    No. CIVA 3:04-174, 2006 WL 3692593, at *4 (W.D. Pa. Dec. 12, 2006); Stengel v. Kawasaki Heavy Indus., Ltd.,
    116 F.R.D. 263, 269 (N.D. Tex. 1987).
September 22, 2022                                          KELLER ROHRBACK L.L.P.
Page 4                                                  BLEICHMAR FONTI & AULD LLP


Congress awarding fees to the attorney, direct payment to the attorney should not be
presumed.”).

       The default rule, then, is for a monetary sanction to go to a party rather than the party’s
attorneys. And Plaintiffs are not aware of any authority suggesting that this extraordinarily
common practice results in sanctions that are anything more or less than compensatory.

        In fact, post-Goodyear authority is to the contrary. It suggests that when courts assess
whether a sanction of attorneys’ fees is properly compensatory, they should not ask how the
sanctions will affect any attorney’s total compensation. Rather, courts should simply ask whether
those fees are tied to legal work that would not have done in the absence of the sanctioned
misconduct.

         The key precedent in this area is Liebowitz v. Bandshell Artist Management, 6 F.4th 267
(2d Cir. 2021). There, the district court imposed a monetary sanction on a plaintiff who had
violated multiple orders and repeatedly lied to the court. The amount of the sanction represented
a reasonable fee for the work that the defendant’s attorneys had to perform as a result of the
misconduct. See id. at 285–86. The complication, however, was that the defendant was
represented pro bono and “had disclaimed the right to collect any fees.” Id. at 279. Thus, the
district court—invoking its inherent authority and 28 U.S.C. § 1927—ordered that the sanction
be payable to the court. Id. at 280.

       The Second Circuit held that the sanction was compensatory rather than punitive, even
though the sanction would not go into the pockets of either the defendant or its attorneys. The
sanction was compensatory simply because it was equal to a reasonable fee for the work that
defendant’s counsel had to perform as a result of the sanctioned misconduct:

       Judge Furman based the measure of sanctions on what amount would have been
       sufficient to compensate [the defendant] had its lawyers charged a reasonable
       attorney’s fee based on their ordinary hourly rates. The fact that [the defendant]
       and its lawyers will not collect this amount from [plaintiff’s counsel] does not
       transform this amount into a punitive sanction nor entitle Appellants to process
       they would not be due had [the defendant’s] lawyers not chosen to waive their
       fees. [The defendant’s] lawyers still incurred losses as a result of the misconduct
       in question.

Id. at 286 n.23. The Second Circuit’s reasoning in Liebowitz shows that any monetary sanctions
the Court may impose here will be compensatory—not because of how they may affect the total
fees that Plaintiffs’ counsel actually receive, but because they will be measured by the extra work
that Plaintiffs’ counsel had to perform due to Facebook’s and Gibson Dunn’s discovery
misconduct.
September 22, 2022                                           KELLER ROHRBACK L.L.P.
Page 5                                                   BLEICHMAR FONTI & AULD LLP


       3. Is there any argument that the sanctions would be punitive rather than
          compensatory and therefore require the Court to provide procedural guarantees
          applicable to criminal cases?

       What has already been said shows that the answer to this question is no. But one other
foundational consideration also indicates that monetary sanctions are compensatory rather than
punitive so long as they are measured by the extra work and expense occasioned by the
discovery misconduct, irrespective of who will ultimately pocket them.

        The constitutional line between what is compensatory and what is punitive is intended to
protect the sanctioned party from paying “an additional amount as punishment for [its]
misbehavior” without the “procedural guarantees applicable in criminal cases.” Goodyear, 137 S.
Ct. at 1186. This restriction on punitive monetary sanctions represents a right that belongs to the
sanctioned party and is for that party’s benefit. Cf. Los Angeles Police Dep’t v. United Reporting
Publ’g Corp., 528 U.S. 32, 39 (1999) (noting, as a “cardinal principle[] of our constitutional
order,” the “personal nature of constitutional rights” (quotation and citation omitted)); Portman
v. Cnty. of Santa Clara, 995 F.2d 898, 902 (9th Cir. 1993) (holding that a public defender lacked
direct standing because “[n]o court . . . has ever held that the Sixth Amendment protects the
rights of anyone other than criminal defendants”). Whether a monetary sanction is punitive or
compensatory, therefore, turns on whether the amount of the sanction represents the costs and
fees caused by the misconduct, which is compensatory, or represents some larger amount, which
is punitive.

        Finally, the Court should reject any argument that it would be punitive for Facebook to
pay sanctions in addition to the settlement fund. The settlement does not resolve any entitlement
to sanctions. The settlement fund simply represents the amount of money that Facebook will pay
to resolve the class’s legal claims, which are distinct, both legally and factually, from any
discovery misconduct that Facebook committed during this litigation. Because compensating the
class for their legal claims does not compensate the class for discovery misconduct, it would not
be punitive for Facebook to pay additional money to compensate the class for discovery
misconduct.

        It is true that if a party is made to pay additional money in the form of compensatory
sanctions, that additional money will have the effect of deterring future misconduct. Such a
deterrent effect, however, does not transform a compensatory monetary sanction into a punitive
sanction, any more than the deterrent effect of an award of compensatory damages in a tort case
turns that civil award into a criminal fine. See, e.g., Carlson v. Green, 446 U.S. 14, 21 (1980) (“It
is almost axiomatic that the threat of damages has a deterrent effect . . . .”). As the Ninth Circuit
noted in the course of deciding that a contempt sanction was civil rather than criminal,
“deterrence is one of the purposes served by compensatory and punitive awards alike.” Nat’l
Abortion Fed. v. Ctr. for Med. Progress, 926 F.3d 534, 538 (9th Cir. 2019), cert. denied sub
nom. Cooley v. Nat’l Abortion Fed., 140 S. Ct. 905 (2020).
September 22, 2022                                           KELLER ROHRBACK L.L.P.
Page 6                                                   BLEICHMAR FONTI & AULD LLP


D.       Question two: What procedures are required if punitive sanctions are to be imposed
         on Gibson Dunn or Facebook?

        The Ninth Circuit has held that when a district court imposes a sanction that is punitive in
nature, “it must provide the same due process protections that would be available in a criminal
contempt proceeding.” F.J. Hanshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128,
1139 (9th Cir. 2001). These are “the right to be advised of the charges, the right to a disinterested
prosecutor, the right to assistance of counsel, a presumption of innocence, proof beyond a
reasonable doubt, the privilege against self-incrimination, the right to cross-examine witnesses,
the opportunity to present a defense and call witnesses, and the right to a jury trial if the fine or
sentence imposed will be serious.” Id. (citations omitted).

E.       Once the Court defines the sanctionable misconduct, it should allow for a full
         accounting of the fees and costs caused by that misconduct.

        When Plaintiffs initially moved for sanctions earlier this year, they focused much more
on showing that sanctions should be imposed than on the amount of those sanctions. Plaintiffs’
request for fees and costs was and is conservative. See Corr. Mot. for Sanctions at 25, 42, ECF
No. 1050-1 (noting the “conservative” nature of the amount requested); Decl. of Lesley E.
Weaver and Derek W. Loeser in Supp. of Mot. for Sanctions ¶ 12, ECF No. 873-5 (“Plaintiffs
are not currently seeking to recover all of the fees and costs that Plaintiffs incurred as a result of
Facebook and Gibson Dunn’s discovery abuse.”). Plaintiffs also indicated they would
supplement the motion with additional fee information at the appropriate juncture. See Corr.
Suppl. Br. in Supp. of Sanctions at 8, 17, 26, 30, 36, ECF No. 1050-3; see also Reply in Supp. of
Mot. for Sanctions at 26, ECF No. 1050-2.

       As noted above, every dollar in sanctions will be one more dollar available to the class. It
would be in the class’s best interest, therefore, for the Court to allow Plaintiffs to submit a full
accounting of the fees and costs resulting from any discovery misconduct that the Court
determines is sanctionable. This would be most efficiently done after the Court issues an order
delineating that misconduct.

                                                       Sincerely,




Derek W. Loeser                                        Lesley E. Weaver
dloeser@kellerrohrback.com                             lweaver@bfalaw.com


cc:      Service-FB-CA_MDL@gibsondunn.com



4861-6965-8932, v. 4
